                    IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE                                         )              CASE NO. 17-17361
                                              )
RICHARD M. OSBORNE,                           )              CHAPTER 11
                                              )
                       DEBTOR                 )              JUDGE ARTHUR I. HARRIS


      MOTION FOR ORDER UPON THE DEBTOR, RICHARD M. OSBORNE, TO
         APPEAR FOR EXAMINATION PURSUANT TO RULE 2004(a) OF
            THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

        Now comes creditor Chicago Title Insurance Company (“Chicago Title” or “Movant”),

through undersigned counsel, and hereby states that the Debtor is in possession of additional

information relating to assets and potential assets of the bankruptcy estate which has not yet been

produced, and which impacts the funds available for creditors. The Debtor should be required to

produce such information and documentation.

        In support of this Motion, Chicago Title states as follows:

        1.     This case commenced by the filing of a voluntary petition for relief under Chapter

11 of the Bankruptcy Code on December 17, 2017 (the “Bankruptcy Case”).

        2.     Movant is a creditor of the Debtor, Richard M. Osborne, and is one of the largest

creditors in the within bankruptcy case, with claims in excess of $6.9 million.

        3.     Based on prior disclosures made in the Bankruptcy Case, the Debtor supposedly

made multiple transfers of shares in various companies months before the filing of his voluntary

bankruptcy case. Chicago Title believes the Debtor was advised not to engage in those transfers.




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        4.        In connection with the Debtor’s proposed sale of property on Concord-Hambden

Road, the Debtor has attempted to allocate a substantial portion of the proceeds of the sale of that

property to a non-bankrupt entity without justification.

        5.        Chicago Title believes the Debtor has liquidated assets of entities that he owns

(either wholly owns or has a majority interest in). Chicago Title further believes the Debtor has

personal access to funds arising from the liquidation of those assets, which should be a part of the

bankruptcy estate for distribution to creditors.

        6.        At the very least, the Debtor must account for funds received as a result of the sale

of substantial assets of entities the Debtor owns or controls. That information is necessary to

determine whether such assets are property of the estate, and the respective rights of certain

creditors, including Chicago Title, in and to such assets. Such information has not been fully

disclosed or provided by the Debtor.

        WHEREFORE, the Movant prays that the Debtor, Richard M. Osborne, be ordered to

appear for examination on July 20, 2018, or at a date mutually agreed to by the parties, pursuant

to the provisions of Rule 2004(a) of the Federal Rules of Bankruptcy Procedure and provide the

following documents to the undersigned counsel on or before June 29, 2018:

        (1) Any documentation regarding the transfer of shares in Osborne Inc., Osborne Concrete

               & Stone Co., Fairport Trucking Company, Grand River Asphalt Co., Osborne Co. Ltd.,

               and Cuyahoga Concrete Co.

        (2) Any documents concerning Debtor’s participation in any way in or with Osborne Inc.,

               Osborne Concrete & Stone Co., Fairport Trucking Company, Grand River Asphalt

               Co., Osborne Co. Ltd., and Cuyahoga Concrete Co., including but not limited to

               documents relating to any interest the Debtor has in the above-named entites.



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        (3) Any information regarding the Center Street Condominiums located at 7472 Presley

               Avenue and 7474 Presley Avenue, Mentor, Ohio 44060, including documents relating

               to the Debtor’s interest in such property, and the transfer of such property.

        (4) Documentation of the resolution with Mike Mortel related to the Shamrock Property,

               including Debtor’s execution of documents on behalf of Leimco Development

               Company in connection with that resolution.

        (5) Documentation regarding Lake County Common Pleas Case Number 16CF001547

               involving Biondolillo Masonry, including specifically the source of the settlement

               proceeds paid in that case.

        (6) Documentation regarding the value of the following entities and the assets held or

               owned by such entities: Junior Properties, Ltd., Orwell-Trumbull Pipeline Co., LLC,

               Chowder Gas Storage Facility, LLC, Lake Shore Gas Storage, Inc., Heisley Hopkins,

               Inc., Black Bear Realty, Ltd., and Hamilton Partners, Inc.

        (7) Documentation concerning the financials of all of the entities listed in Debtor’s

               Amended Schedules, including Balance Sheets, Tax Returns for the past four (4) years,

               lists of Assets owned by each entity, Income Statements, and Profit and Loss

               Statements.

        (8) Documentation of transfers of any real property that is or was owned by any and all of

               the entities listed in Debtor’s Amended Schedules since Debtor filed bankruptcy on

               December 17, 2017.

        (9) Documentation concerning Louie V LLC, including but not limited to agreements

               between the Debtor and that entity, transfers from the Debtor to and/or from that entity,

               and money and/or anything of value exchanged with that entity.



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        (10) Documentation concerning and/or relating in any way to current or proposed

               transactions involving any real property owned by any entity that is listed in Debtor’s

               Amended Schedules.

        WHEREFORE, Chicago Title respectfully requests that the above documents be produced

at the Office of Michael J. Sikora, III, Esq., Sikora Law LLC, 737 Bolivar Road, Suite 270,

Cleveland, Ohio 44115 by no later than June 29, 2018; and that an examination of the Debtor,

Richard Osborne, take place on July 20, 2018 at 10:00 a.m. at the above location; and for an order

from this Court directing the production of the above-described documents and for a Rule 2004

Examination.


                                        Respectfully submitted,


KOEHLER FITZGERALD LLC                                   SIKORA LAW LLC

/s/ Robert D. Barr                                       /s/ Michael J. Sikora III
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                                                         Company




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of Motion for an Order Authorizing the

Examination of the Debtor, Richard M. Osborne, Pursuant to Rule 2004(a) of the Federal Rules

of Bankruptcy Procedure was served on June 8, 2018, as follows:

Via the Court’s Electronic Case Filing System on these entities and individuals who are
listed on the Court’s Electronic Mail Notice List:

        Adam S. Baker, on behalf of Michael E. Osborne, Sr., at abakerlaw@sbcglobal.net

        Robert D. Barr, Attorney for Chicago Title Insurance Company, at rbarr@koehler.law

        Michael J. Sikora, III, Attorney for Chicago Title Insurance Company, at
        msikora@sikoralaw.com

        Michael S. Tucker, Attorney for Citizens Bank, N.A., at mtucker@ulmer.com

        Christopher J. Klym, Attorney for Ohio Department of Taxation, at bk@hhkwlaw.com

        Matthew H. Matheney, Attorney for First National Bank of Pennsylvania, at
        mmatheney@bdblaw.com

        Timothy P. Palmer, Attorney for The Huntington National Bank, at
        timothy.palmer@bipc.com

        John J. Rutter, Attorney for Mentor Lumber & Supply Co., at jrutter@ralaw.com

        Frederic P. Schwieg, Attorney for Richard M. Osborne, at fschwieg@schwieglaw.com

        Jeffrey C. Toole, Attorney for Zachary B. Burkons, at toole@buckleyking.com

        Maria D. Giannirakis ust06, United States Trustee, at maria.d.giannirakis@usdoj.gov

        Scott R. Belhorn ust35, United States Trustee, at Scott.R.Belhorn@usdoj.gov

        Gregory P. Amend, Attorney for First National Bank of Pennsylvania, at
        gamend@bdblaw.com

        Nathaniel R. Sinn, Attorney for First National Bank of Pennsylvania, at
        nsinn@bdblaw.com


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        Alison L. Archer, Attorney for Lakeland Community College, at
        alison.archer@ohioattorneygeneral.com

        David T. Brady, Attorney for Tax Ease Ohio, LLC, at DBrady@Sandhu-Law.com

        Andrew M. Tomko, Attorney for Tax Ease Ohio, LLC, at atomko@sandhu-law.com

AND, by regular U.S. mail, postage prepaid, to the following:

        Richard M. Osborne
        7265 Markell Road
        Waite Hill, Ohio 44094


                                           /s/ Robert D. Barr
                                           Robert D. Barr (0067121)
                                           Co-Counsel for Chicago Title Insurance Company




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